BSEA-51.5
    Jennifer and John




    VIA FACSIMILE AND FIRST CLASS MAIL          F    e    b     r   u     a    r    y    22, 2015

    Rosa I. Figueroa, Hearing Officer
    Bureau of Special Education Appeals
    Division of Administrative Law Appeals
    One Congress Street, l l
    t h F l MA
    Boston,   o o02114
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    Re: A l e               v. Lincoln-Sudbury
                                    r          Regional School District
    BSEA#: 1502427

    Request for Subpoenas




    Dear Hearing Officer Figueroa:

    Parents have discussed and reflected upon the February 17, 2015 phone call with the

    Hearing Officer and Attorney Ehrens. During this phone call Parents had to identify Parents'
    witnesses and justify the testimony of each witness on the list. Parents were requested to

    confirm the need for various witnesses and issuing subpoenas to them.


    Upon discussion and reflection Parents request a subpoena for both Bella Wong current

     LSRHS Superintendent/Principal and Scott Carpenter former LSRHS

    Superintendent/Principal.


    Therefore, Parents have decided to request that the BSEA subpoena all eight LSRHS school

     staff identified in Parents' letter dated February 9, 2015. Parents do not agree to rely upon

     Attorney Ehrens' representations that she has coordinated with these school staff so as to

     assure they will appear to testify. BSEA guidance books and documents all recommend that

     Parents request that the BSEA issue subpoenas to school staff per BSEA Rule VIII.


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               Therefore, Parents reiterate their request that the Hearing Officer subpoena the following

               LSRHS school staff to appear as witnesses at the hearing when scheduled:


               1. Vic k y Caburian, Varsity Field Hockey Coach and Wellness Teacher
               2. J anette Cavallo, School Nurse

               3. J .K. Park, Guidance Counselor

               4. Sandy Crawford, Housemaster
                   5. Br andon Dorey, Math Teacher

                   6. K i m Schultz, Spanish Teacher

                   7. Aid a Ramos, Director Student Services

                   8. Bella Wong, Superintendent/Principal


                   The above eight LSRHS staff are present during school hours at the LSRHS address of:
                   390 Lincoln Road, Sudbury, MA 01776.


   °It     I   n     addition to the above people, Parents hereby request that the Hearing Officer subpoena
                   the following former LSRHS school staff to appear as witnesses at the hearing as scheduled:


                   9. Nanc y O'Neil, former LSRHS Athletic Director
                           O H o m e Address: 52 Great Hill Drive, North Weymouth, MA 02191
                           O H o m e Phone: 781-331-3606

                    10. Rhonda Taft-Farrell, former LSRHS Director Student Services

                           o W o r k Address: Adminis trator of Pupil Personnel, Waltham Public Schools, 617

                               Lexington Street, Waltham, MA 02452. Wor k Phone: 781-314-5428
                           O H o m e Address: 33 Lafayette Drive, Sudbury, MA 01776. Home Phone: 978-
                               443-0883.

                    11. Scott Carpenter, former LSRHS Superintendent/Principal
                           o W o r k Address: Superintendent Monomoy Regional Schools, Central Office, 425

                               Crowell Road, Chatham, Ma 02633

                           o W o r k Phone: 508-945-5130

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         LSRHS most definitely has obstructed, delayed, protracted and thwarted document

         production. Whereas, Parents requests date back to October 2014, LSRHS did not provide

         documents until January 2015 and then only provided additional documents that had to be

        justified and demanded multiple times by Parents and were mailed only on February 4,
        2015. Key documents that were requested still have not been provided! I n addition, LSRHS

        has attempted to provide only those documents it considers relevant and only those within
        the limited scope of the hearing that LSRHS has argued for.


        Furthermore, LSRHS has objected to nearly all of Parents' interrogatories and has not
       provided full and meaningful answers to many of them.



       Since LSRHS and Attorney Ehrens d o not agree with Parents' January 25, 2015 letter, or for

       that matter any verbal or written communications with Parents, Parents do not want to rely
       Upon Attorney Ehrens' representations, either verbal or written. It is proper process to

      request subpoenas of witnesses, particularly those of school staff who Oppose Parents.

      Parents do not think it wise or appropriate to forego these subpoenas particularly given
      LSRHS' history of not cooperating.



     The fact that LSRHS now has a concussion policy and had one in 2
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     relevant to this hearing as they indicate what LSRHS staff knew or should have known.

     Whereas, certain elements or claims related to school policies may be out-of-scope of this

     hearing, these policies and documents are material evidence that relate directly to LSRHS'

     processes to meet obligations under Child Find, Section 504, IDEA and NAPE. Whereas the

    fact that LSRHS did not comply with 105 CMR 201.000 is out of scope of the BSEA, the fact
    that such non-compliance relates directly to the misfeasance, nonfeasance and even

    malfeasance of failing to identify a concussion-related disability is relevant. After all, LSRHS
    knew of its obligations and the requisite standards of evaluation, planning and care

    IDEA.
    including that concussion policy and 105 CMR 201.000 relate directly to Section 504 and


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•   As LSRHS head injury/concussion policies set forth school policies, procedures, practices

    and protocols regarding the evaluation and planning for concussed students for disabilities,

    they are highly relevant to whether LSRHS knew or should have known of Ali's concussion-

    related disability. As they state obligations of school staff to monitor and evaluate

    concussed students, they are highly relevant to whether LSRHS staff knew or should have

    known of All's disability. To exclude them from evidence and consideration is not logical

    and inappropriately prejudicial.


    Furthermore, as these policy documents in fact exist, is it not highly questionable that

    LSRHS refuses to provide them? The LSRHS School Committee approved a school

    concussion policy and attested to compliance with 105 CMR 201.000. Therefore, there
    should be no issue with providing these important public documents. Attorney Ehrens,
    LSRHS and the LSRHS School Committee have not provided these public documents and

    have thwarted all efforts to obtain them. As Mr. Radha Gargeya, Chairman of the LSRHS

    School Committee has publicly stated that the school's "concussion protocol" has been

    provided to Parents as part of a BSEA hearing although it has not been provided by LSRHS

    during discovery for this hearing or in response to Parents' public records requests, Mr.

    Gargeya should be required to produce the documents that were reviewed, revised and

    approved by the ISMS School Committee which included instructions for implementation.

    LSRHS and Attorney Ehrens have agreed that concussions may cause disability as defined by

    Section 504 and IDEA. Therefore, the school's policies, procedures, practices and protocols

    related to concussions are material and relevant to this hearing. Parents fully understand

    that this hearing is about whether or not All was disabled due to her concussion and
    whether or not ISMS staff knew or should have known of the concussion-caused

    disability. Therefore, it is not at all credible to eliminate all discussion of LSRHS practices

    related to concussed students. Furthermore it is highly material that LSRHS has altered its

     concussion practices so as to properly evaluate concussed students for eligibility and to

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•   provide needed accommodations, specialized instruction and supports; everything it failed

    to do for   although it was obliged to do so by both state regulations and school policy.


    Whereas direct claims for noncompliance with head injury/concussion policies are not

    within the scope of the BSEA, consideration of concussion practices certainly is relevant to

    this hearing as   was a concussed student. To argue to exclude such consideration is on its

    face not legitimate and defensible.


    In Parents' Request for Postponement, Parents requested a telephone call to coordinate
    new hearing dates while putting forth new ones. Since Attorney Ehrens indicated that

    LSRHS staff did not want to miss school time, Parents included the school vacation week;

    this being a good way to minimize ISMS education disruption. Now Attorney Ehrens

    indicates that school staff do not want to miss any vacation time, so she has eliminated the

    week of April 22-24. Parents are open to other dates.


    It is NOT necessary to schedule the entire hearing around Ms. Ramos and having her

    present all of the time. Ms. Ramos can read the transcript of the hearing and needs only to

    be present when called as a witness by Parents and the District. Parents expect to be able

    to call Ms. Ramos to testify without compromising her need for breaks. In fact, Attorney

    Ehrens has written that it is not necessary for Ms. Ramos to testify at all as Attorney Ehrens
    maintains that Ms. Ramos has no personal knowledge of        , Parents, or any circumstances
    leading up to Parents' hearing request. Should Ms. Ramos need accommodations at the

    hearing during the limited time that she is required to testify, Parents request that Ms.
    Ramos provide documentation of her disability and needed accommodations. However,

    given Attorney Ehrens' descriptions, it appears that accommodations are not likely to be

    needed. Parents do not agree to schedule around Ms. Ramos' schedule as her participation

    is not necessary beyond testifying for a very limited time period. Parents will understand

    that Ms. Ramos may leave and return during the hearing so as to take needed breaks.



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•   Parents did not provide LSRHS and Ms. Ehrens Parents' witness list in advance so that it

    could be questioned and disputed. LSRHS has not made known to Parents its witness list

    and is not being subjected to comparable questioning. As stated in Parents' Request for

    Postponement, critical witnesses are not available. Attorney Ehrens and her extraordinary

    efforts to dismiss the hearing and the excessive time she required of Parents to defend their

    positions, precluded Parents from communicating, coordinating and confirming with

    witnesses. Attorney Ehrens was so presumptive about limiting the scope of the hearing that
    she provided the limited LSRHS responses to Parents requests for documents and

    interrogatories despite her objections that discovery exchanges be delayed until the

    Hearing Officer had ruled upon LSRHS Motion to Dismiss/Motion for Summary Decision.

    Attorney Ehrens provided only some responses in January 2015 with the bias that the

    Hearing Officer had ruled in LSRHS' favor to limit the scope of the hearing and therefore

    LSRHS withheld documents and answers. Just this past week, LSRHS was still sending


•   documents.


    Parents are not using the 13SEA as a forum regarding LSRHS failures to comply with Parents
    records requests. LSRHS should stop raising this issue that Parents understand is out of

    scope of this hearing so as to confuse the Hearing Officer and misrepresent Parents actions
    and intentions.


    Parents are sure that future hearing dates can be established that do not adversely impact
    either party.


    Thank you,




    Jennifer and John




    Cc: Doris R. MacKenzie Ehrens, Attorney for Lincoln-Sudbury Regional School District
    (email only)
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